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                                EXHIBIT A
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                                               PETROLEOSDEVENEZUELA


                  Thls OUARANTY (the "Ouaru1y*1) 1 dated as of May, i2,_ 1998, is issued by PETROLEOS
                  DE VENEZUELA S.A. (the 1'0uman1or•'} In favor of CURAt;:AO UTIUTIES COMPANY
                  N.V. {the ' 1 Compru1y").

                  ln ,onsideration of the Company•3 entering inlt> that certain Utilities Servh:es Agreement, ·
                  dated BS of April 22, 1998 {as the wne may be runended and &upplcme.nted from time to time,
                  the"Agreementj, with Rel'lnerla llila (Curuao), S.A. ("RlCSA"), a wholly-owned sub!lldlaty
                  of !he Guarantor, Md in view   or the benefits the Quanmtor expec1s to receive a, a result of
                  lUCSA'S being a pimy to the Agreement, the Guarantor hereby covenMts and ngrm with the
                  Company as follo~:
           J
                         6ecUa1:1 l. PeOnJilgM: Capitalized tenns used herein IU\Q not olherwlu defined sJiall
                  have their respective meMings as set forth in lhc Agrtemmt.




                          (a)   Gul\fMtY. The Gumn1or hm:by Irrevocably and unconditionally aua.rantm to
                  the Co~rnmy the full     prompt payment whm d~ (trudng into aecount all applicable notice
                  imd gnice periods, If M.Y) of all amounts, ll11bUIUe11 and ohllg111ion.s of RlCSA, absolut.e 01
                  contingent, due or to bocome due, or now nls1lng or hereafter incurred, that may 11.rbe out or
                  the Agrtement (the "0ultl1lntlerl Obllgntlons"); providr:d, howeve~, that the Ouatv1tor may,   a3

                  11 dcflml!c to the performance of lu ohlig1.1!1ons under this Ou1mmty, as,eli any defense
                  available to R!CSA under the Agreement, other than tho~ waived pursuru1t to subsection (b)
                                        any b!!.sed on !he persoruil or corporate lneapru:lty or any Pers.on. The
                  below and oilier
                  Gummier furthi::r agrees mat If !µCSA shall fall to pay in full when due llll or any of the
                                                                                                                 .
                  Owim1Ued Obligations, the Gue.rent.or will imm1:dil11:ly pny the same upon demand. This.,.
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                                                                                                                  ,
                   Guimmty is irrevocsbl~ 1n n11turo l.'IRR'is•madt!"witnrei~ 'ionny Ouarntltled Ob!ig~ons nt11Y.---·-··-·····--······
                   exlstmi or hma.fter a.rising and shall remain In full forte imd efi'eet \ln!ll aU of the OW!Wltled
                   Obl!gatlons are fully and frr~voc:ably sati.sfled and discharged, This Guamnly Is a guaranty of
                   full and punctual payn1e~I and no! merely ofc:ol/cellon.

                           (b)     AbS2l!.!te GUgraqty,      This Ouatanly is an absolute, urn:onditlonal. nnd
                  • to.utlnulng Gl.nl.ffltltY of the full ind punctual paynunt of the OuB.11U1tled Obllg11tions, and the
                   Ouarant0r 11~ that Its obllgntions herl:Ullder in rl!.Spet:t of the Oul!l'a.nt!e<I Obligations shall
                   001 be rc!e!l5ed, modified, altered, litnlti::d, Impaired, or otherwise affected by any event. utl or
                   failure to net or nny other cau~ or cireumstance, including, without limitation:

                   i}      the ban!auptcy • receivership or insolvency of the Company or any other Person or !he
                           dlsehat1e of' lhe Company's or any other Pemon's obligations In MY bankruplcy,
                           receiver.ihlp or lfimllar proea:ding; or

                   il1     MY modlficm.tion, nmendmenl, mciision, discharge, or relc:11s:, in whole or in pa.rt, of
                           the Agreement or the Guarantied Obligations,

                           (c)     fmruw!l!,     All paymenis made by the Guarantor heteUJ1der .shnlf be madll
                   without set-off or coun\en:laim imd without MY deduction or withholding fOf any reason,
                   1::~1 !IS express.ly provided to the contniry in the Agreemtnt. All paymentr; he~under sluilJ
                   be m;de Jn U.S. dollarl In Immediately available funds,

                           (d}    Re]n,!atern1en1. Notwlthstandlng anything to the contruy contained herein, this
                   Guanmty 11luill continue to be effective or be reinstated, 11.l! the c!I.Sll may be1 If at nny time MY
                   payment, or part thezeo~ under this Ollaranty 1$ rescinded or mu$t otherwise: be returned or
                   restored by the Company upon the insolvency, bankruplcy, dissolution, liquldatlcm or
                   ~ltatlon or 11lmllar event affecting RlCSA or the Ouanmtor or llllY sub.5UU1tl111 plllt of Its
                   property,
                    >
                             or otherwii;e, rul as though such paymcn1 had not been made.
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                          {a)      C~!, ,md ~r.imru.: The Outranror shall pay upon demand and prmnlation or
                   invol~ ull com 11/ld r:xpen.seB of the Company, lncludins, without Jimltetlon, n::asone.ble
                   mlomi:ys•, fc.e.s, dlsbur~ments, and taxes paid or lneumd           in.
                                                                                      coMeetlon with (i) the
                   cnforcffl!etil of, or modification or any amounts due under, this Guaranty, (ii) any waiver,
                   C1'1i!nshm, amwdm,mt or rnodificallon of any provl&ion of chls Oumnty, or (ii!) the
                   ~dministration of this Ouart111IY,

                           (b)    :Waivers bv l\w Pummt% The Gu11.tanlor hereby waives, to the mfl.l<.lmum
                   ~xi.mt permitted by applicable law: (i) all rights lo require the Company     10   proceed against
                   R.!CSA. or any other Pemin al any time, or to proceed 112ainst or e~haust any tight or take 1111y
                   action aplnm JUCSA or any other Perlit>n, or lo pumie any other remedy whatsoever at any
                   tlme; (il) llfl rights to raise as u defense to the enforcement of this Ouruunty any defense
                   wing by reason of any disability or other defense of IUCSA or any other Per.son, or by
                   mwon of the ttssation from any cause whnt50ever of the: obligations of lUCSA or any oiher
                   Pc:mm under the Gua.nmly {othu than by n:ason of payment of tne Guarantied Obligations In
                   acwn.iam:e with thelr terms), and (iii) presentments, demands, notices, and prolesl of eve,y
                   kind Wld nature 1n conoection with the de.livery or, 11ccep1a,ne.i:, perfol'll'Wtte. default. or
                   enfon::ement of thb OUlmUlty or MY o!her instrument, document, or agreement rela11ng
                   thereto, exezpt !or demands and notices expressly provided for herein.

                            {e)     Q!![ffli11 gf ~nbms@liQn. Until ;ueh time as the Ouara.ntied Obligations have
                    been Indefeasibly pa.Id i.n full, ootwltlnlmldlng MY paymel'H ms.de by the Oullfll.l\lot hereunder
                    or the teu!pt of iwy amounts by the Company whh rupee! 10 the Ouaranlled Obllpdons, (I)
                         Gt.i.anntor (on behalf or liseU; Its ll'Uccr:sson IIJ1d nssi&ns, lneludmg any surety) hen::by
                    i:xpmsly atld im:vocab!y vraivu my ri11hl It mey ha~ lo be subrogated to any oflhe right! of
                    I.he Company against RICSA or a3ainst ruiy other coUate.ml security held by the Company for
                    thi: payment of the Oummtled Obligatfon5 Md (ii) the Guarantor 11grees that fl will not seek
                    M)'   reiinbunmmMI from the ComPMY In te$J'tel cf paymem.s made by the ClUl!l'a.ntor in
                    coM~tion with the Ouanintied Obligations, er amounts realized by the Compw,y In                      \if)
                    con.nmlon with the Ouaranlled Obligations.
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                       Sculon ~. lbµmet!tiinJ! w'.im W!rnn«3bTIGi Gunmntllt• The Guarantor hereby
                                                             1


                       repment,, wa.mnt;, 1md undertakCY to the Company as foll~:

                             (a) 11,e Omwnwr iu duly organi:u:d, validly ell;isting and In good G11Utdm& under
                   lhe laws ofil.$ jurisdiction oforga.nltation.

                                (b) The GWU'ill\torhas full power, authority and legiu right to exec:ule and deliver
                   1his Gmmnty imd wl athar instruments, documents end BI!leements required by lhe provisions
                   ofthls Gll.!lJ'Mly to be executed, delivered and perfornied by the 01.renmtor, 1111d to perf'orm Its
                   obllg11tlo~ hereunder ami thereunder.

                                {c) The ei,;ecutian, delivery and perform11nct of I.hi$ Gue.rant)' and all other
                   in~enu, docurmmt.s and agreements required by the provision, of this Gua.ranty to be
                   ~eeuled, dcllverc:d Md performed by the Guarnntor have, been duly authorized by all
                   :n~$lU)' corporate    actlon ot1 l}re    of the Guarantor.

                                Cd) Thi$ G\wmty and all other instruments, document$ and O!Jruments n:qubed by
                   the provisions of tnis Ouam.nty to be executed, dcllv~ and performed by the Cil.UU'afltor have
                   been duly executed 11.mf d~ivem! by the Oua1'1!J'ltor IIJ!d constitute the le111l, valid and bindlng
                '. obligations of the Gu!lfllntor, enforceable against It fn aecordnnc:e with their rcspeclivc tenns.

                            (e) A.It ~siey attlon ha.s been taken under lhe laws er the Republic cf
                   Verumiela to authorir.c the ~ct:utinn, delivery nnJ performance of lhls G1wrnn1y, No
                   governmental approwla or olh11r con~nts, approvals, or notic:¢$ of or to Wl)' Person a.re
                   tequlred in eon.nectirm wlth Iha aec::utlon 1 delivery, performimee by the Oumm1or, validity or
                   enforc.ea'billty of this O~ly.

                   Section S.       SeyeiH Jm;m1,mlU:, The Guanulor um:ondltlonl'lily 1u:id irnvocablyt
                           a)       Agree& that the eJ<eaition, delimy and per(ormance by it ofthls Quara.nty
                   consiitule povule lll\O comm.l?t<:ial acis rather than public or governmental 11cls'.,

                           b)       Agrees that, should ~Y proceeding be brought against lt or lts am:ls in tmy
                   juri~ction in 11:lollon to this Ouamnty or 11.r1y tra.nmtlon contemplated by this Qua.ranty,
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                     lmmt.mi~ from. wch proceu!lngs~~1t ,;th;·;xte'~tthirtit·;~uld otherwise be entllled to do
                     SOs   be clMcd by er on behalf of itself or with mpecl lo Its mets;

                                 c)    W~ves any right or immunity which It or any ofits qmts now has or may
                   ·. Bcquire in the fulun: In M!Y ju:rlwictfon; p.royjd$_!:}, ~ . that such waiver 11hnll not be
                     ·~ckemed lo create MY right orl the part oflhe Company lo a\l!!Ch any asset or property prior ,o
                       the entry of jud~·m:nt; Md


                             d)      Consents, with res~c:t to th,s enfor~ment of MY Judgment agBinst it in any
                     liUch pr0¢eeliings in any jurisdiction,~ the siting of any reliefor the Issue ofnny process in
            $':l     connection with 5Uch proceedings (!nclwiing1 without llmltnlion, the maldng, enforc:emen\ or
                     exm::ulion aga.!Mt or in respect of any property whatsoever, irrespective or !Ls Wlll or lntendcd
                     1.1$e).

              ')          Srction 6      N2ri~~J. AU notices, demund , Instructions, waivers, consents. or other
                                                                       7
                     communications rnqufred or permitt.ed he.eunder sh.all be in ~Tiling In the English language;
                    -shall be effective: upon receipt; and mat! be sent by pmonal delivery, eourle.r, eertltied mail or
                     lc:sted tele,c, to the following ruldreslmS:

                                 (u)   lf lo tho Guarantor, to:    Petr6leos de V1meruela 5.A.
                                                                   Attn: Corporate Vlce•Presldent FlnMce
                                                                   8 th Floor, ~ t Tower
                                                                   La C11mplft.a. Caracas to to-A
                                                                    Verm:uela
                                                                    Tel:    (582) '10!!•4227
                                                                    f ~: (582) 7084510
                               • Cb)   Ifto the Comp!l.lly, to:     CUllli:oo Utllitit!S
                                                                                     Company N. V.
                                                                    Clo Retinerladi Korsou N.V.
                                                                    Am Bill 'fop Building, Plette;Uwq l
                                                                    P.O. Box 3527
                                                                    Attn: CUC 'Praject
                                                                    Tr:!: S99•9-4fil-lOSO
                                                                    Pwc:    599-~•461-3l77
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                                                        l';r 1e_ .w '~~Energy It11emat.lonal, Int:.
                                                                   1125 Nt 7111 Avanue
                                                                   OBnla, FL 3:3004-2503
                                                                   AUmP~dcnt
                                                                   Tel: 954•920·Sl00
                                                                   Fax: 9S4•?22•1i686 -..


                                                                   Nutloos Energy Corporation
                                                                   399 Carolina Avenuo
                                                                   W'1.ntc:r Park, fL 32789
                                                                   Ann: PNsldant
                                                                   Tel:    407M7-7077
                                                                   Fox:    407•647•77SI or2414

                                                                   Constetl11tlon Powu, tnc.
                                                                   25D West Prutt Street
                                                                   Baltlmora, MD 21201-2423
                                                                   Attn: Secratruy
                                                                   Tel: 410-783•2800
                                                                   Fu: 410.783-3610



                   The addresaea and tet~ numbffi of either party for nctices given pur!l.lant to this Ot.Wl.nty
                   may"be c::h~ged by muns of a wrll:lm n01lc.c given to the other party at least IS bu.dnen day.i
                   prior lo the effective d~le of filth ~henge.




                           M       W1d.!m       B,m*~li, Cumuhilt!e.
                                                                  No fidlun: on the part or the Company 10
                    ~i.e. and no ~lay on the part of the Company In e1m~i:1lng, WIY right ormnedy, In whole
                    or ln part bercundu &hall opmte !IS a waiver thereof. No 1lngte or partiw cicen::ise of any ri;ht
                    or :remedy anal I preclude, any ollw or further exercise thereof or the i>eerc:l.se of any othi=- right
                    or remedy. 'No wa!V't:T' by the Company sball be effective Ul'lleas it is in wntlng and ,ueii
                    writing' exprnssly &late$ tlust his intended to con,tltutc such wa!vtr, Any Wlllver given by the •
                    Compmy of Wl.Y right, power or ;tmedy In miy one instanee &hall be cffect!vc only Jn that
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                        specific fnsW'le& gt\d only for the pwpou f'or which glven, and will not be c o ~ as a
                        waiver of u.ny right, power or remedy on any future ocwlon. In ll.tldltion, rhe Ou1U1.U1lor may
           J            not claim th.at the Company cvuld have nvoidetl or mltliated In any manner or through any
                        mmon the damages resuhfoi from ii default of IUCSA under the Aiimmen!. The rights and
                        Tel'l,!~les of I.ha Company herein provided 11re eumula!Jve am! noi l:xclu.slve of any rights or
                        remedies provided by Jaw.

                               (b)     Symnpn 1mt AUim!, Tlus Guaranty shall be binding upon the succcssurs of
                        the Guruutor and shall ill'Ul'e to the benefit of the Company and Its successor. and permiued
                        assigns. Tue Guarantor sball nol eJsign or transfer 1111 or any ·part of lts rights or obtlgatlons
                        hereunder without the prior written eonsmt of the Company. Any purpo11ed ~slgnment or .
                        delegation Without such w.ritlen cons1mt shl1!1 be null and void. The Company may assign its
                        rights Md interests in this Guanm!y to any a.ssignee of the Company permitted in accordance
                        with the A~ent. No other l'ersons shall be a bcneflcill.l'Y of this Gu!UM!y or have or
                        acquire any rights by reeson of I.hi, GUl!Wlty,



                              {c)      A11m1dment. 11tl.s Ouannty may not be modified, amended, terminated or
                                                                                                         f    •

                        revoked, In whole ur !n part, except by nn cgrec:meni In writing sicned by the Company and
                        the Guarantor.




                               {d)     ~!:mil'll.\iir,m Bll9 Belfm. When all obligations of RlCSA under or in
                        con.nection wllh the Agretmanl m fully and ircevocub?y satisfied and discharged, r'hen, and
                        only !lum, shn!I this Ouilnmty br:: n:I~; otherwise, ii ihall remain In full force and dfi:cL


                                                                                                                    J
                        No release of thb Ouarn.nty &lutll be v111ld unless exc:t:uted by the Company 11.rtd delivered to
                        the Guarantor.


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                                 GOYEBM~&! L&W1 JVruSDICI!ON.
                                                                                                   y)




                        (i)      THE RIGHTS ANO OBLIGATIONS OF THE PARTIES UNDER OR
                                 PURSUANT TO nus GUARANTY SHA.LL BE OOVERNW BY AND                 "
                                                                                                  ,;



                                 CONSTRU£D IN ACCOR.DANCE WlIB THE LAWS OF THE STATE Of'
                                 NEW YORK, wrraour REGARD FOR ANY PRJNClPL.ES OF
                  .\             CONFLICTS OF LAW . THAT WOULD DUlECT OR PERMlt THE
                                                                                                   J
                                 APPLICATION OF THE LAW OF ANY OTI-IER JURISDICTION.               1

                        (ii)     ANY ACTION OR PROCEEDING AGAINST mE GUARANTOR MAY BE
                                 BROUGHT AND ENFORCED lN, AND OUARA'NTOR HER.EBY
                                 SUBMlTS TO THE JURISDICTION OF TJ-11; FEDERAL COURTS OF THE           0
                                 UNITim STATES FOR THE SOtm!ERN DlSTIUCT OF NEW YORKi
                                 PROVl~ Jllt;T. IF FOR WHATEVER REASON 11-tE FEDERAL
                                 COURTS OF nlE UNITED STATES .FOR THE SOUTHERN orsnucr pf
                                 NEW YORK WILL NOT OR CANNOT HEAR SUCH ACTION OR
                                 PROCEEDING, IT MAY BE BROUGHT AND ENFORCED lN. AND
                                 OUAAANTOR HER.liF:IY SUBMITS TO nm .nJIUSDlCTION OF nre
                                 COUR"fS OF THE STATE OF NEW YORK LOCATED lN NEW YORK                   1")

                                 CITY.

                        (lll)    THE GUARANTOR WAIVES ANY OBJECTION WHICH IT MAY HAVE
                                 TO THE LAYINO OF VENUE Of' •ANY SUCH SUIT, ACTION OR                      (l
                                 PROCEEDING IN ANY OF SUCH COUllTS AND ANY CLAIM THAT
                                 ANY SUCH SUlT, ACTION OR PROC£E.DlNG HAS BEEN BROUGHT lN

                                  .
                                 AN INCONVENIENT FORUM.
                                                                                                           Q
                        {Iv)     THE GUARANTOR lRR:EVOCABLY CONSENTS TO THE SEP.VICE OF
                                 PROCESS OUT Or ANY OF THE AFOREMENTIONED COURTS BY
                                . 'REGISTERED OR. CERTiflED MAIL, POSTAGE PREPAJO, TO TH:..,
                                                                                                            D

                '=.i·
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                                          ,UNOE.rum:n,,ro AT rrs ADDRESS Strr FORTH ABOVE., SUCH
                                          sruw1ce TO BECOME EFFECTIVE 30 DAYS ArTER SUCH MAILING.

                                  (v)
                                                                                  .
                                              nte. GUARANTOR AGREES THAT FINAL JUDGMENT IN ANY .SUCH
                                          ACTION OR l1ROC6EDINO SHALL BE CONC[;USIVE AND MAY BE
                                          ENFORCED JN ANY OTHER JURlSDJCTION BY SUlT ON THE
                                          JUDGMENT OR. IN ANY DTiiER MANNER PROVIDED BYLAW.

                                  (vi)     NOTHtNG IN THIS SECTION SHALL AFFECT nlE lUGHT OF THE
            )                             .COMPANY (A) TO SERVE LEGAL PROCESS IN ANY OIBER MANNER
                                          '
                                              PERMITTED EY LAW, OR (B) TO BRJNO ANY SUIT, ACTION OR
                                              PROCEEDJNO AGAINST THE UNDERSlONED OR ITS PROPERTIES IN
                                              'nm COURTS Of: ANY OTI!ERJURJSDlCTIONS.

                                  (vii)       THE FOREGOINO PROVISIONS CONSTITUTE. AMONG OTHER.
                                              THINGS, A SPECIAL ARRANGiiMENT BETWEEN TilE COMPANY AND
                                              TIIB GUARANTOR FOR PUR.POSES OF SEcnoN 4(a) OF THE UNITED
                                              STATES FOREIGN SOVEREION IMMUNmES ACT OF 1976, AS
                                              A.l'vi~'DEO (28 USC I608).

                                '• (viH) THE GUARANTOR AND THE COMPANY WAIVE ANY RJGHT THeY
                                              MAY HA VE TO A TRIAL BY JURY.

                                  (I)    fiY'O!O'.\il, AU repmenl.l!tloru and wammties made in th.is GU!U1!Jlty and In any
                           o!h:r lnstrurmmt, document, m,d 11greement delivered pur1ua.nt hm10 or in c:onnt:etlon
                ".J
                           herewith shall MVive the execution and dc:liveey ofthls Gua.tMty.

                                   (g)   §evel"!biJity. Any pn>Vision of this Guaranty that is prohibited or
                           unenforceable In any jurisdiction shall, as to sueh jurlsdfction, be Ineffective lo the extent of
                           such prohibitlon or\U'lenfon:.:eability witoout inYa!idating the remaining provisions hereof. and
                           arr:t irueh prohibition or uncnforceablllty in any jurisdleUon shall 11Qt lnvalidme or render


                      if                                                                                                ':JP
                           unenforceable 1,ueh provision in MY other jurlsdii:::tion. When: provlslelU of law or n:gulallon
                           ,esulb~ In ,ooh pruhlblllon o, un,nf<>"ubl!i1y m,y bo wah,ed 1"oy " ' h"ehy wotved by
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                   Ouil.!1m!or Md the Co~pany 10 the 1\.111 eitttmt p,muitted by law :m that this Ouuwuy llhall be
                   rlwm@d a 'Vlilld bl11dlng Etgm:ment ln 1m;h c:~ enfo~eable In occurdanoe with Its temu.

                   This 0 ~ hu ~en duly executed on behalf of the OUI.Uil.!ltor by llli authorfud officer 8.'l
                   oftheil day ofMay199B.                                            •




                          Acknowledged Md Accepted:

                          CURA9A0 UTILITIES COMPANY N.V.




                           Title:




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                                                                                                         Execution Copy

                                                              AMENDME!'ff
                                                                   TO
                                                        GUARANTY OF
                                                   PETR6LEOS DE vtNEZUELA

                          . Pursuant to a request of CUR.A<:AO UTILITIES COMPANY N.V. (the "Company").
                   PETR.OLEOS DE VENEZUELA S,A. (the "Guarantor") hereby amends that certain Guaranty
                                                                                                    or
                   (the "Guaranty''}. dated as of May 22, 1998. issued by the Guarantor in favor the Company as
                   follows.

                          Section 1. De(lnlti211~: Capitalized terms used herein and no\ olherwise defined shall
                   have their respective meanings !I!! set forth in the Guaranty.

                          Section 2. Amm!UIJS!lifil Guargntv.

                           (a) Ameru;lmsn.1 of Section 3(c). Cla.u.se (ii) of Section J(c) of the Guaranty is hereby
                   deleted in ii, entirety and the following is substltuted in lieu thereof:

                          "(il) the Guarantor agrees that it will not seek any reimbursement from RJCSA in respec1
                   of payments made by the Guarantor in connection with the Guarantied Obligations."

                          (b) Amgndm~pl of S~xll2n fi. Section 6 of the Gunrnnty is hereby deleted in its entirely
                   and the following is substituted in lieu thereof:

                            ·•section 6. Notices. Alt notices, demands, instructions, waivers, consents, or other
                   communications required or permitted hereunder shall be in writing in the English language,
                   .shall be effective upon receipt; and shalt be sent by personal delivery, tourier, certified mnil or
                   1,med telex, 10 the fol\owi ng addresses:

                           (a)     lfto the GU!lrantor. to:       Petr61eos de Venezuela S.A.
                                                                  Attn: Col'J)Orate Finance Coordinator
                                                                  8th Floor, Torre Este
                                                                  Aven lda Libertador
                                                                  La Camplnn, Caracas IO l 0-A
                                                                  Venezuela
                                                                  Tel: (582) 708,4227
                                                                  Fax: (582) 708-4510
           )               (ll)    lfto the Company. to:          Cura~ao Utilities Company N V
                                                                  c/o Refinerla di Korsou N.V.
                                                                  Ara Hill Top Building, Plet1erijweg l
                                                                  P.0. Box 3627
                                                                  Attn· CUC Project
                                                                  Tel· 599-9-461-1050
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                                   with u'copy to:               Nations Energy Corporation
                                                                 399 Carolina Avenue
                                                                 Winter Park, FL 32789
                                                                 Altn: President
                                                                 Tel. 407-647-7077
                                                                 Fax: 407-647-7751 or 2414

                           The addresses and telex numbers of either party for notices given pursuant to this
                    Guaranty may be changed by means ofa written notice to the other party at least 15 business
                    days prior to the effective date of such change."

                           Section 3, Rt:l]rtUJll!!J}QIU an() Warraolie, gf th~ Guurnlof, The Guarantor hereby
                    represents, watranl5, llJ'ld undertakes to 1hc Company as follows·

                         (11)   The Guarantor has full power, nuthority and legal right to execute and deliver this
                    Amendment and to perform its obligations hereunder.

                            (b)    The execuiion, delivery and perfonno.nce of this Amendment have been duly
                    authorized by all nece.ssary corporate action on lhe part of the Ouarentor.

                            (c)     This Amendment has been duly executed and deliverci.1 by the Guarnntor and
                    constitutes lhe legal, valid Mrl binding obligation of1he Guaranlor, enforceable against ii ln
                    accordance with its terms.

                           (d}      All necessary action has been taken under the laws of the Republic of Venezuela
                    10 nuthorize the execution, delivery and performance of this Amendment. No government.al
                    .approvals or other consents, approvals, or notices of or to any Person are required in coMection
                    with the execution, delivery, performance by the Guarantor, validity or enforceability of this
                    Amendment



                         (a)  G ~ G 1,AW; JUNSDJCTJON. THE RIGHTS AND
                    OBLIGATIONS OF THE PARTIES UNDER OR PURSUANT TO THIS AMENDMENT                                            .)

                    SHALL BE GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF
                    THE STATE OF NEW YORK, WlTHOUT REGARD FOR ANY PRINCIPLES OF
                    CONFLICTS OF LAW THAT WOULD DIRECT OR PERMIT THE APPLICATION Of THE
                    LAW OF ANY OTHER JURISDICTION.

                            (b)      ~yrvivat All representations and warranties made in this Amendment and in nny
                    other instrument, document, and agreement delivered pursuant hereto or in connection herewith
                    ,boll ,u,,;,., lhc mcution ond d,li,o,y oflh;, Am.,dmeot




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                            (c)     Guarnnty In Full Force and Effect u Amended. Except as expressly /\mended
                   hereby. the Guaranty shall continue 10 be and shall remain in full force and c!Tecl in accordance
                   with its tenm and is hereby ratified and confirmed. The runendments provided herein shall be
                   limitt:d precisely BS drafted and shall not be construed 10 be on amendment of MY other provision
                   ofrhe Guaranty other than as el<pressly provided herein.

                            This Amendment has been duly execuu:rl on behalf of 1he Guarantor by its authorized
                   officer as of the 111 day of September, 1999.




                                                                 -rr
                                                                 ~By:Name:
                                                                           Title:
                   Consented to and Agreed:

                   CURAGAO UTILITIES COMPANY N.V.


                   By:_ _""'
                   Name; ~M•PF /-Vr ,2)/,,eli:'C ;ra<_
                   Tille:    r / ~,..u'.;,.,.i,,.1




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